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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
22-SC-1056
Inventory made in the presence of :

Inventory of the property taken and name(s) of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                      ATTACHMENT A


                                   Property to Be Searched


This warrant applies to records and information associated with the cellular telephone number

          (the “ACCOUNT”), and which is stored at premises owned, maintained, controlled, or

operated by AT&T Corporation (“PROVIDER”), a wireless communications service provider

headquartered in Dallas, Texas.
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                                      Attachment B

Particular Things to be Seized and Procedures to Facilitate Execution of the Warrant

I.      Information to be Disclosed by AT&T (“PROVIDER”) to Facilitate Execution of

        the Warrant

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the PROVIDER, including any information that has been deleted but is

still available to the PROVIDER or that has been preserved pursuant to a request made under

18 U.S.C. § 2703(f), the PROVIDER is required to disclose to the government the following

information pertaining to the ACCOUNT listed in Attachment A:

        a. The following information about the customers or subscribers associated with the

            ACCOUNT for the time period November 3, 2020 through February 28, 2021:

                i. Names (including subscriber names, user names, and screen names);

               ii. Addresses (including mailing addresses, residential addresses, business

                   addresses, and e-mail addresses);

              iii. Local and long distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned

                   network addresses (such as Internet Protocol (“IP”) addresses) associated

                   with those sessions;

               v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic

                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),

                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number

                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber



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          Integrated Services Digital Network Number (“MSISDN”); International

          Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile

          Equipment Identities (“IMEI”);

     vii. Other subscriber numbers or identities (including the registration Internet

          Protocol (“IP”) address); and

     viii. Means and source of payment for such service (including any credit card or

          bank account number) and billing records.

b. For the time period from November 3, 2020 through February 28, 2021: All records

   and other information relating to wire and electronic communications sent or

   received by the ACCOUNT, including:

       i. Records of the date and time of the communication, the method of the

          communication, and the source and destination of the communication (such

          as the source and destination telephone numbers (call detail records), email

          addresses, and IP addresses), including web browsing history and text

          messaging history;

       ii. information regarding the cell tower and antenna face (also known as

          “sectors”) through which the communications were sent and received; and

      iii. Records and information regarding per-call measurement data (PCMD)

          (also known as Network Event Location Services (NELOS), Timing

          Delay/Timing Advance (TA), TrueCall, Time on Tower Report, and/or Real

          Time Tool (RTT) data).




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c. For the time period from November 3, 2020 through the present: The contents of

   all communications and related transactional records for all PROVIDER services

   used by an ACCOUNT subscriber/user (such as voice call services, voice mail, text

   messaging, SMS, instant messaging or chat services, or picture and imaging

   sharing services), including but not limited to incoming, outgoing, and draft calls,

   chats, messages, and other electronic communications; attachments to

   communications (including native files); source and destination addresses and

   header or routing information for each communication; the date, size, and length of

   each communication; and any user or device identifiers linked to each

   communication (including cookies);

d. For the time period from November 3, 2020 through the present: The contents of

   all other data and related transactional records for all PROVIDER services used by

   an ACCOUNT user (such as voice call services, instant messaging or chat services,

   or remote computing services), including any information generated, modified, or

   stored by user(s) or PROVIDER in connection with the ACCOUNT (such as

   voicemail, text and SMS messages, contacts, images, videos, notes, documents,

   bookmarks, profiles, device backups, and any other saved information);

e. All records pertaining to devices associated with the ACCOUNT, including the

   names and phone numbers associated with other devices on the subscriber’s plan,

   including device serial numbers, instrument numbers, model types/numbers,

   International Mobile Equipment Identities (“IMEI”), Mobile Equipment Identifiers

   (“MEID”), Global Unique Identifiers (“GUID”), Electronic Serial Numbers

   (“ESN”), Android Device IDs, phone numbers, Media Access Control (“MAC”)



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                addresses, operating system information, browser information, mobile network

                information, information regarding cookies and similar technologies, and any other

                unique identifiers that would assist in identifying any such device(s).

         The Provider is hereby ordered to disclose the above information to the government within

14 days of the issuance of this warrant.

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence, fruits, contraband,

and instrumentalities of violations of 18 U.S.C. §§ 111, 113(a), 231, 1752(a), and 40 U.S.C.

§ 5104(e)(2), as described in the affidavit submitted in support of this Warrant, during the

period of November 3, 2020 through February 28, 2021.

            (a) Information that constitutes evidence concerning the riot that occurred at the U.S.

                Capitol on January 6, 2021; or assaults on law enforcement or members of the news

                media, on January 6, 2021;

            (b) Information that constitutes evidence of any planning and preparation that the user

                of the account undertook prior to committing the criminal activity under

                investigation;

            (c) Information that constitutes evidence of any steps that the user of the account took

                to disguise or hide their participation in the criminal activity under investigation;

            (d) Information that constitutes evidence of the identification or location of the user(s)

                of the ACCOUNT;

            (e) Information that constitutes evidence concerning persons who either (i)

                collaborated, conspired, or assisted (knowingly or unknowingly) the commission

                of the criminal activity under investigation; or (ii) communicated with the


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                 ACCOUNT about matters relating to the criminal activity under investigation,

                 including records that help reveal their whereabouts;

             (f) Information that constitutes evidence indicating the ACCOUNT user’s state of

                 mind, e.g., intent, absence of mistake, or evidence indicating preparation or

                 planning, related to the criminal activity under investigation;

                 Evidence indicating how and when the account was accessed or used, to determine

                 the geographic and chronological context of account access, use, and events relating

                 to the crime under investigation and to the account owner; and,

The identity of any person(s) who communicated with the ACCOUNT about matters relating to

the events of January 6, 2021, including records that help reveal their whereabouts.

   III.      Government procedures for warrant execution

          The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

          Law enforcement personnel will then seal any information from the PROVIDER that does

not fall within the scope of Section II and will not further review the information absent an order

of the Court. Such sealed information may include retaining a digital copy of all information

received pursuant to the warrant to be used for authentication at trial, as needed.

          This warrant authorizes a review of records and information disclosed pursuant to this

warrant in order to locate evidence, fruits, and instrumentalities described in this warrant. The

review of this electronic data may be conducted by any government personnel assisting in the

investigation, who may include, in addition to law enforcement officers and agents, attorneys for



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the government, attorney support staff, and technical experts. Pursuant to this warrant, the FBI

may deliver a complete copy of the disclosed electronic data to the custody and control of attorneys

for the government and their support staff for their independent review.




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 ONE CELL PHONE ACCOUNT
                                                  Case No. 22-SC-1056
 CONTROLLED BY AT&T CORP.
 PURSUANT TO 18 U.S.C. § 2703 FOR
                                                  Filed Under Seal
 INVESTIGATION OF VIOLATIONS OF
 18 U.S.C. §§ 111, 113(a), 231, 1752(a),
 AND 40 U.S.C. § 5104(e)(2)

Reference:     USAO Ref. # 2021R002212; Subject Account(s):

                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Garrett S. Churchill, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for certain

location and related information associated with ONE CELLULAR TELEPHONE ACCOUNT

(the “ACCOUNT”) assigned the phone number                      (“TARGET PHONE NUMBER”),

that is stored at premises controlled by AT&T Corporation (“PROVIDER”), a cellular service

provider headquartered in Dallas, Texas. The information to be searched is described in the

following paragraphs and in Attachment A. This affidavit is made in support of an application for

a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require

PROVIDER to disclose to the government copies of the information further described in Section

I of Attachment B. Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review the information to locate items described in Section II

of Attachment B, using the procedures described in Section III of Attachment B.
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        2.      I am a Special Agent with the Federal Bureau of Investigation (FBI), Washington

Field Office. I have been in this position since September 30, 2019 and am currently assigned to

investigate Public Corruption and Government Fraud in the District of Columbia. As a member

of the Washington Field Office’s Criminal Branch II, I have also been assisting in the investigation

of violent crimes committed against law enforcement officers and members of the media in or

around the U.S. Capitol Building on January 6, 2021. My primary responsibilities include

conducting investigations involving public corruption, fraud, civil rights crimes and other related

violations of federal criminal law. I have received a Juris Doctorate from the University of Georgia

and have been a member of good standing of the State Bar of Georgia since 2010. I have experience

with federal criminal law, the Federal Rules of Evidence and the Federal Rules of Criminal

Procedure. During my training at the FBI Academy, Quantico, Virginia, I received training in

areas such as physical surveillance, legal statutes and procedures, financial investigations,

confidential source management, Fourth Amendment searches, the drafting of search warrant

affidavits, probable cause and digital forensic data analysis.

        3.      I base the facts set forth in this affidavit upon my personal knowledge, information

obtained during my participation in this investigation, review of documents to include business

and bank records and official government records, knowledge obtained from other individuals

including law enforcement personnel, and communications with others who have personal

knowledge of the events and circumstances described herein. Because this affidavit is being

submitted for the limited purpose of enabling this Court to make a judicial determination of

probable cause to issue a search warrant, I have not included each and every fact known to me

concerning this investigation. I have set forth only the facts that I believe are necessary to establish

the legal basis for the issuance of a search warrant. The dates listed in this affidavit should be read
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as “on or about” dates. Unless specifically indicated, all conversations and statements described

in this affidavit are related in substance and in part only and are not intended to be a verbatim

recitation of such statements. All times provided in this affidavit should be read as “on or about”

times and are given in Eastern Standard Time (EST) unless otherwise noted.

          4.     Based on the facts set forth in this affidavit, there is probable cause to believe that

BENJAMEN BURLEW (“BURLEW”) has violated 18 U.S.C. § 111, 18 U.S.C. § 113(a)(4)

and (a)(5), 18 U.S.C. § 231, 18 U.S.C. § 1752(a), and 40 U.S.C. § 5104(e)(2). There is also

probable cause to believe that the historical location information, as described in Attachment B,

will constitute evidence of these criminal violations.

          5.     The Court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a district court

of the United States that has jurisdiction over the offenses being investigated; see 18 U.S.C. §

2711(3)(A)(i). As discussed more fully below, the acts in furtherance of the violations of 18 U.S.C.

§ 111(a)(1), § 231, § 1752(a) and 40 U.S.C. § 5104(e)(2) occurred within Washington, D.C.

See 18 U.S.C. § 3237. Furthermore, the acts in furtherance of the violation of 18 U.S.C. §

113(a)(4) and (a)(5) occurred on the United States Capitol Building and Grounds, which

constitute the “territorial jurisdiction” of the United States as “lands reserved or acquired for

the use of the United States” and under its “exclusive or concurrent jurisdiction.” See 18 U.S.C.

§ 7(3).
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                                       PROBABLE CAUSE

                        Background – The U.S. Capitol on January 6, 2021

       6.        USCP, the FBI, and assisting law enforcement agencies are investigating a riot and

related offenses that occurred at the United States Capitol Building, located at 1 First Street, NW,

Washington, D.C., 20510 at latitude 38.88997 and longitude -77.00906 on January 6, 2021.

       7.        At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000

square feet and is located underground on the east side of the Capitol. On the west side of the

Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of

open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple

terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate

side, and two large skylights into the Visitor’s Center surrounded by a concrete parkway. All of

this area was barricaded and off limits to the public on January 6, 2021.

       8.        The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       9.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       10.       On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol.     During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which
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took place on November 3, 2020 (“Certification”). The joint session began at approximately 1:00

p.m. Eastern Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m., the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       11.     As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       12.     At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       13.     Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       14.     After the U.S. Capitol was breached, United States Capitol Police (USCP)

requested assistance from law enforcement agencies in the area to protect the Capitol, keep people
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from entering the Capitol, and expel the crowd that was inside the Capitol. Multiple officers with

the Metropolitan Police Department and other law enforcement officers came to assist.

       15.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       16.     Additionally, news coverage of January 6, 2021 documented numerous attacks on

members of the news media who were present to cover the events at, around and in the U.S. Capitol

building. These included reports of members of the news media being harassed, threatened,

robbed, and assaulted based on their perceived roles as journalists, and equipment belonging to

several news organizations was stolen, damaged and/or destroyed.

                                    Facts Specific to This Application

       17.     As explained further below, two videos from separate sources taken during the riots

on January 6, 2021, at the United States Capitol depict an individual, subsequently identified as

BENJAMEN BURLEW (“BURLEW”), engaging in a physical assault against a credentialed

member of the news media (“MONM”), an Associated Press photographer (hereafter referred to

as “the MONM victim”). This assault included physically grabbing and shoving the MONM victim

and pushing him forcefully over a low wall. These crimes occurred in the general area of the Lower

West Terrace of the U.S. Capitol Building during the riots on January 6, 2021. The investigation

also revealed that BURLEW assaulted a law enforcement officer at the U.S. Capitol, prior to the

assault on the MONM victim, as specified below, during the riot on January 6, 2021.

       18.     Your affiant reviewed publicly available video footage depicting the assault of the

MONM victim (“The Video”) that was retrieved from the verified Instagram account of another
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Associated Press photographer and the MONM victim’s colleague who was present with the

MONM victim during the assault, and filmed the incident as it occurred (the “MONM witness”).

The MONM witness later posted The Video to his Instagram account and the footage was reposted

publicly by various media outlets on their respective websites and incorporated into reporting

about the events of January 6, 2021 (e.g., an article by Associated Press journalist David Bauder,

titled “Journalists recount harrowing attacks amid Capitol Riot” posted on the Associated Press’s

website      on    January      8,     2021,     and      accessible     at     the     following

link:https://apnews.com/article/donald-trump-new-york-journalists-media-social-media-

cba6bd7b93be0ade1da714a32c33d74c).

       19.     Your affiant reviewed the Video and observed an individual with the following

identifying characteristics: white male with short, thinning black hair and a mixed black and gray

beard, wearing a blue and white neck bandana, a green/gray camouflage pattern quarter zip jacket

and carrying a dark green backpack. This individual was later identified through investigation, as

explained in detail below, as BURLEW. BURLEW could be observed on the Video shoving the

MONM victim using BURLEW’s right hand placed on the MONM victim’s back, over the

MONM victim’s black backpack.

       20.     After disengaging from the assault on the MONM, BURLEW was then

subsequently observed on the Video lunging towards the MONM victim as the MONM victim was

being shoved backwards towards a low stone wall, which lies several feet above the grass of the

west lawn of the U.S. Capitol building. BURLEW was observed to grab the MONM victim’s

upper chest with BURLEW’s left hand and the MONM victim’s right leg and knee with

BURLEW’s right hand and forcefully throw and push the MONM victim over the wall and to the

lawn several feet below. Faint green tattoo markings on BURLEW’s left hand were observed by
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your affiant during this altercation. The MONM victim, together with at least one individual that

was standing on the low wall behind the MONM victim and inadvertently caught up in the melee,

was observed to land on his back on the ground several feet below the wall, on the grounds of the

west lawn of the U.S. Capitol, while BURLEW leaned over the wall and observed the MONM

victim’s fall.

         21.     Based on the timing and location of the above-described assault, your affiant

reviewed the body-worn camera footage (the “BWC Video”) of a District of Columbia

Metropolitan Police Department (“MPD”) Officer who was standing near the Lower West Terrace

of the U.S. Capitol during the approximate time that the assault occurred. The officer was

positioned near a line of bike racks, which was being used as a barrier against the assembling

crowd by officers of the MPD and U.S. Capitol Police. The bike rack was positioned close to the

top lip of the stairs that the MONM victim was observed to be standing on at the beginning of the

Video.

         22.     Subsequently, your affiant observed BURLEW on the BWC Video at

approximately 1:35:36 PM. This observation of BURLEW appears consistent with BURLEW’s

location while shoving the MONM victim for the first time, as described supra paragraph 19.

         23.     After review of the aforesaid videos, the FBI utilized investigative resources to

develop multiple images of BURLEW, at the time an unknown subject, from the Video and the

BWC Video. These images were assigned BOLO #195 (all points bulletin, also known as “be on

the look-out”) and were placed on the FBI’s “Most Wanted” U.S. Capitol Violence webpage,

currently accessible at https://www.fbi.gov/wanted/capitol-violence (the “Capitol Violence

Webpage”), to allow members of the public to review images of BOLO #195, as well as BOLO
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images of other offenders whose conduct had been identified as criminal but whose identities were

unknown, and assist the FBI in identifying these offenders.

       24.     Multiple tips were submitted to the FBI that identified BOLO #195 as BURLEW,

which were followed up and corroborated by investigators, as described in more detail below.

       25.     A group of internet sleuths (collectively, “CW-1”), who had previously provided

assistance to the FBI in connection with the Capitol riots investigation, submitted a tip consisting

of a link to a publicly available video posted on YouTube to the YouTube channel of Citizen Media

News (the “YouTube Video”), recorded by an unknown individual (the “Recorder”). CW-1

indicated that the unknown subject known as BOLO #195 could be observed in the YouTube

Video and appeared to state his name and the state of his residence to the Recorder. Review of the

YouTube channel to which the YouTube Video was posted appears to be associated with

CitizenMedia News (www.citizenmedianews.com), which purports to be a “grassroots”

journalism and media platform.

       26.     Your affiant has reviewed the YouTube Video and observed an individual matching

the description of BURLEW (white male, short, thinning black hair, mixed black and gray beard,

blue and white neck bandana,green/gray camouflage pattern quarter zip jacket) provide his name

as “Ben Burlew” [spelled phonetically] and his state of residence as “Oklahoma.” Additionally,

your affiant observed distinctive green tattoo markings on the back side of the individual’s left

hand, consistent with the markings observed on BURLEW’s hand in the Video (supra paragraph

19).

       27.     Using the self-identification, your affiant reviewed Oklahoma driver’s license

information and located an individual named “BENJAMEN SCOTT BURLEW” whose
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appearance in his driver’s license photo was consistent with the images of BURLEW observed by

your affiant in The Video, the BWC Video, and the YouTube Video.

       28.     Further, your affiant conducted a review of other submitted tips and ongoing FBI

investigations that may have also implicated or mentioned BURLEW. This search revealed that

on January 9, 2021, an individual (“CW-2”) submitted an on-line tip to the FBI National Threat

Operations Center (“NTOC”) and reported that Benjamen Burlew was in Washington, D.C. on

January 5, 2021, and January 6, 2021, and possibly entered the U.S. Capitol building. CW-2

reported that Burlew was a former serviceman in the U.S. Army and provided identifiers for

BURLEW, including his current address and his cellphone number, which was the TARGET

PHONE NUMBER. CW-2 indicated that BURLEW’s wife would likely be the named party on

any bank accounts, property or financial obligations owned by or accruing to BURLEW.

       29.     Based on these allegations, on January 13, 2021, CW-2 was re-contacted and

interviewed telephonically by an FBI agent, and provided additional information. CW-2 had

observed a video phone call between BURLEW and a close family member of BURLEW (“Family

Member-1”) on or about December 24, 2020. During the call, CW-2 had overhead BURLEW state

that he was planning to go to Washington, D.C. on January 4, 2021, in a caravan and “storm the

Capitol.” CW-2 had also overhead a phone call between BURLEW and Family Member-1 on or

about January 6, 2021 in which BURLEW appeared to be in Washington, D.C. and in which

BURLEW had stated that “people were acting silly” and that it was time for BURLEW to leave.

CW-2 did not know of any photographs of BURLEW inside the Capitol building or if BURLEW

had participated in illegal activity while present in Washington, D.C. CW-2 clarified his/her initial

report that he/she had no actual knowledge that BURLEW had been inside of the U.S. Capitol but
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that he/she had overhead him say on or about December 24, 2020 that he had planned to “storm

the Capitol.”

       30.      Subsequently, on March 11, 2021, FBI agents and task-force officers (“TFO”)

attempted to interview BURLEW at the residential address provided by CW-2 (the “BURLEW

Residence”). The agents contacted BURLEW using the TARGET PHONE NUMBER. BURLEW

answered the call, identified himself, and identified the TARGET PHONE NUMBER as his

cellular phone number. BURLEW declined to answer questions about whether he had been in

Washington, D.C. on January 6, 2021, or participated in any of the civil unrest that took place

during the day. BURLEW further advised the interviewing agents that he was recording their

interaction and would not speak further with agents without his lawyer present.

       31.      On March 15, 2021, a second telephonic interview of BURLEW was attempted by

FBI agents and/or TFOs. BURLEW was called at the TARGET PHONE NUMBER and BURLEW

again picked up the call. BURLEW was asked to schedule an interview with the agents and advised

that his attorney could accompany BURLEW to the interview. BURLEW stated that he had spoken

with his lawyer who advised BURLEW that he should not speak with the FBI. The interviewing

agents advised BURLEW of the nature of the interview and BURLEW stated that the FBI was

lying about information received that BURLEW was present in Washington, D.C. on January 6,

2021, and stated that he did not wish to speak with the FBI regarding his presence or conduct in

Washington, D.C. on or about January 6, 2021.

       32.      On or about the week of May 24, 2021, an individual (“CW-3”) with a familial

relationship to BURLEW called the FBI NTOC to report the identity of FBI BOLO #195 as

BURLEW. CW-3 alleged that BURLEW had asked CW-3 to go to Washington, D.C. with

BURLEW on January 6, 2021, but that CW-3 had declined BURLEW’s invitation. CW-3 stated
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that BURLEW had prior military service in the U.S. Army and that BURLEW lived “out in the

middle of nowhere” in Oklahoma.

       33.     On or about the week of May 31, 2021, an individual (“CW-4”) called the FBI

NTOC to report the identity of FBI BOLO #195 as BURLEW. On June 2, 2021, your affiant

contacted CW-4 telephonically for an interview. CW-4 alleged that BURLEW and CW-4 had been

co-workers in the past and that BURLEW’s name had been “going around” their place of work as

wanted by the FBI. CW-4 had recognized BURLEW based on his build, facial features, hair and

beard, which were consistent with the images of BOLO #195 posted on the Capitol Violence

Webpage. Due to his limited relationship with BURLEW and the fact that gloves were often worn

on the job by CW-4 and his coworkers, CW-4 did not recall whether BURLEW had any tattoos or

markings on his left hand and arm.

       34.     On or about June 24, 2021, CW-2 was re-interviewed by FBI agents and shown the

aforesaid images of BOLO #195. CW-2 was able to positively identify these images as BURLEW.

CW-2 was asked if BURLEW had any unique identifying marks or features, such as scars or

tattoos. CW-2 was able to identify the distinctive green tattoo on BURLEW’s left hand that was

observed by your affiant, supra paragraphs 19 and 21.

       35.     Based on the information above, on June 25, 2021, your affiant submitted a 27-

page affidavit in support of a criminal complaint concerning BURLEW’s violations of 40 U.S.C.

§ 5104(e)(2)(F) and 18 U.S.C. § 113(a)(4), and an arrest warrant for BURLEW (the “Arrest

Warrant”) in connection with such violations to the United States District Court for the District of

Columbia.

       36.     The Hon. G. Michael Harvey, United States Magistrate Judge, United States

District Court for the District of Columbia, issued the aforesaid complaint and the Arrest Warrant
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on June 25, 2021. See Case Number 1:21-mj-00501. Special Agents from the FBI Oklahoma City

Field Office (FBI-OC) executed an arrest of BURLEW, pursuant to the Arrest Warrant, on or about

August 18, 2021.

       37.     Subsequent to the arrest of BURLEW and a press release made by the United States

Attorney’s Office related to BURLEW and the charge on which he was arrested, an anonymous

individual (“CW-5”) submitted a tip to the FBI’s tip-line that though authorities had arrested

BURLEW for the MONM victim assault, BURLEW had also engaged in additional criminal

conduct on January 6, 2021 while wearing a different set of clothing than that displayed in

BURLEW’s original FBI BOLO photographs. Specifically, CW-5 alleged that BURLEW had

engaged in an assault against a MPD officer on January 6, 2022, in addition to the known assault

committed against the aforesaid MONM victim.

       38.     Review of several publicly available YouTube video links provided by CW-5 led

to the observation that an individual had assaulted a black male DC MPD police officer (the

“Victim Officer”) in the vicinity of the stairs of the Lower West Terrace of the U.S. Capitol

Building on January 6, 2021. Specifically, the assailant was a white male with short, thinning black

hair and a mixed black and gray beard, wearing a dark green backpack, a black long-sleeved upper

garment, black and orange gloves, and a black trucker-style ballcap. The assailant could be

observed rushing at the Victim Officer and then engaged in a physical scuffle with him, appearing

to attempt to tackle and/or wrestle the Victim Officer to the ground. Subsequently, the assailant

was sprayed by OC/pepper spray repeatedly by another DC MPD police officer in the vicinity, and

disengaged from the assault and ran away, back into the crowd.

       39.     Review of the aforesaid videos resulted in the identification of DC MPD officers

(based on visible name plates) that would have vantage points to have caught the assault of the
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Victim Officers on their BWC. Subsequently, your affiant acquired and reviewed BWC footage

of these DC MPD officers, which resulted in the positive identification of the Victim Officer. The

BWC footage of the Victim Officer was also procured and reviewed. Generally, the review of this

BWC footage further substantiated the assault on Victim Officer by the assailant. It was further

observed that the assailant, while wearing different clothing than that worn by BURLEW during

the MONM victim assault, appeared to be wearing a backpack (green backpack with distinctive

red pull tabs) identical to that worn by BURLEW during the MONM assault, as well as pants and

shoes consistent with those worn by BURLEW during the MONM assault. In addition, the

assailant’s face, voice, and profile were all visible and audible on the video links submitted by

CW-5 and in the BWC footage reviewed by your affiant, and were found to be consistent with

BURLEW’s face, voice, and profile as they appeared in the review of the aforesaid videos and

images from the MONM assault. These similarities led to the identification of the assailant as

BURLEW. Time-stamps on the BWC footage established that the assault against the Victim

Officer happened prior to the assault against the MONM victim described above. The additional

clothing (trucker hat, gloves, black long-sleeved upper garment) worn by BURLEW during this

assault appear to represent heavier, winter-type clothing than what BURLEW wore during the

MONM victim assault.

       40.     Subsequent to the review of the aforesaid BWC footage, the videos provided by

CW-5, and other publicly available videos and media, the Victim Officer was interviewed by FBI

agents. During the interview, the Victim Officer was shown the aforesaid BWC footage and some

of the publicly available videos depicting his assault by BURLEW. The Victim Officer stated

during the interview that he recalled the specific physical altercation with the individual pictured,

The Victim Officer did not know the identity of his assailant, but identified the assailant as
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BURLEW when shown multiple images of BURLEW, dressed in the alternative set of clothing

described above, that were pulled from the BWC footage and videos referred to above.

Probable Cause that BURLEW is the User of the TARGET PHONE NUMBER and ACCOUNT

       41.     Subpoena results from AT&T in June 2021 revealed that B.B., the maiden name of

BURLEW’s wife, was listed as the subscriber for the ACCOUNT associated with the TARGET

PHONE NUMBER. The ACCOUNT had a listed billing address of the BURLEW Residence.

BURLEW is known to be the primary user of the TARGET PHONE NUMBER and the

ACCOUNT. FBI agents used the TARGET PHONE NUMBER to contact BURLEW on two

separate occasions to conduct telephonic interviews. On one occasion, BURLEW confirmed to

FBI agents that the TARGET PHONE NUMBER was the number at which he could be reached.

Subsequently, the Oklahoma Bureau of Narcotics agents also used the TARGET PHONE

NUMBER to successfully contact BURLEW on multiple occasions.

       42.     Based on the above evidence, there is probable cause to believe that BURLEW is

significantly connected to and is the primary user of the TARGET PHONE NUMBER, and the

ACCOUNT is held in the name of BURLEW’s wife and registered to BURLEW’s residence and

thus probable cause exists to collect location information for the historical period set forth in

Attachment B, for the purpose of providing additional, electronic evidence that BURLEW was

physically present in Washington, D.C. on January 6, 2021 and committed the aforesaid crimes.

      BACKGROUND ON CELL-SITE DATA AND LOCATION INFORMATION

       43.     In my training and experience, I have learned that PROVIDER is a company that

provides cellular telephone access to the general public. I also know that providers of cellular

telephone service have technical capabilities that allow them to collect and generate information

about the locations of the cellular telephones to which they provide service, including: (1) E-911
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Phase II data, also known as GPS data or latitude-longitude data, and (2) cell-site data, also known

as “tower/face information” or “cell tower/sector records.” E-911 Phase II data provides relatively

precise location information about the cellular telephone itself, either via GPS tracking technology

built into the phone or by triangulating on the device’s signal using data from several of the

provider’s cell towers. Cell-site data identifies the “cell towers” (i.e., antenna towers covering

specific geographic areas) that received a radio signal from the cellular telephone and, in some

cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These towers are

often a half-mile or more apart, even in urban areas, and can be 10 or more miles apart in rural

areas. Furthermore, the tower closest to a wireless device does not necessarily serve every call

made to or from that device. Accordingly, cell-site data is typically less precise that E-911 Phase

II data.

           44.     Based on my training and experience, I know that PROVIDER can collect E-911

Phase II data about the location of the TARGET PHONE NUMBER including by initiating a signal

to determine the location of the TARGET PHONE NUMBER on PROVIDER’s network or with

such other reference points as may be reasonably available.

           45.     Based on my training and experience, I know that PROVIDER can collect cell-site

data about the TARGET PHONE NUMBER. Based on my training and experience, I know that

for each communication a cellular device makes, its wireless service provider can typically

determine: (1) the date and time of the communication; (2) the telephone numbers involved, if any;

(3) the cell tower to which the customer connected at the beginning of the communication; (4) the

cell tower to which the customer connected at the end of the communication; and (5) the duration

of the communication. I also know that wireless providers such as PROVIDER typically collect
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and retain cell-site data pertaining to cellular devices to which they provide service in their normal

course of business in order to use this information for various business-related purposes.

       46.      Based on my training and experience, I know that AT&T also collects additional

estimated location information commonly referred to as NELOS. NELOS information can provide

an approximate location of the cellular device utilizing a combination of timing advance, Wi-Fi

and global positioning information (GPS). At times, this information can supplement cell site data

when no call or text information is available.

       47.     Based on my training and experience, I know that each cellular device has one or

more unique identifiers embedded inside it. Depending on the cellular network and the device,

the embedded unique identifiers for a cellular device could take several different forms, including

an Electronic Serial Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile

Identification Number (“MIN”), a Subscriber Identity Module (“SIM”), a Mobile Subscriber

Integrated Services Digital Network Number (“MSISDN”), an International Mobile Subscriber

Identifier (“IMSI”), or an International Mobile Equipment Identity (“IMEI”). The unique

identifiers – as transmitted from a cellular device to a cellular antenna or tower – can be recorded

by pen-trap devices and indicate the identity of the cellular device making the communication

without revealing the communication’s content. During the historical time period described in

more detail in Attachment B, the TARGET PHONE NUMBER was assigned to the following

cellular device: Apple iPhone 11 Pro Max, IMEI #                         .

       48.     Based on my training and experience, I know that wireless providers such as

PROVIDER typically collect and retain information about their subscribers in their normal course

of business. This information can include basic personal information about the subscriber, such

as name and address, and the method(s) of payment (such as credit card account number) provided
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by the subscriber to pay for wireless communication service. I also know that wireless providers

such as PROVIDER typically collect and retain information about their subscribers’ use of the

wireless service, such as records about calls or other communications sent or received by a

particular device and other transactional records, in their normal course of business. In my training

and experience, this information may constitute evidence of the crimes under investigation because

the information can be used to identify the TARGET PHONE NUMBER’s user or users.

                                     AUTHORIZATION REQUEST

       49.      Based on the foregoing, I request that the Court issue the proposed search warrant,

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

       50.      I further request that the Court direct PROVIDER to disclose to the government

any information described in Section I of Attachment B that is within its possession, custody, or

control. The government shall reasonably compensate PROVIDER for reasonable expenses

incurred in furnishing such facilities or assistance.

       51.      Because the warrant will be served on PROVIDER, who will then compile the

requested records at a time convenient to it, good cause exists under Rule 41 to permit the

execution of the requested warrant at any time in the day or night. Further, pursuant to 18 U.S.C.

§ 2703(g), the presence of a law enforcement officer is not required for the service or execution of

this warrant.

                   REQUEST TO SUBMIT WARRANT BY TELEPHONE
                     OR OTHER RELIABLE ELECTRONIC MEANS

       52.      I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney
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Jennifer Leigh Blackwell, an attorney for the United States, is capable of identifying my voice and

telephone number for the Court.

                                         CONCLUSION

       78.      Based on the aforementioned factual information, I respectfully submit that there is

probable cause to believe that evidence of the Subject Offenses may be located with the records

and information associated with the TARGET PHONE NUMBER described in Attachment A.

Therefore, I request that the Court issue the proposed search warrant to seize items described in

Attachment B.

                                                   Respectfully submitted,




                                                   Garrett S. Churchill
                                                   Special Agent
                                                   Federal Bureau of Investigation



Subscribed and sworn telephonically pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on April 21,
2022.



_________________________________________
HONORABLE G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE
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                     CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                RECORDS PURSUANT TO FEDERAL RULES OF EVIDENCE
                                   902(11) AND 902(13)


        I, _________________________________, attest, under penalties of perjury by the laws of

the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in this

certification   is     true     and   correct.       I   am   employed   by   AT&T,    and    my    title   is

_____________________________.                   I am qualified to authenticate the records attached hereto

because I am familiar with how the records were created, managed, stored, and retrieved. I state that

the records attached hereto are true duplicates of the original records in the custody of AT&T. The

attached     records     consist      of   _________________________          [GENERALLY       DESCRIBE

RECORDS (pages/CDs/megabytes)]. I further state that:


        a.      all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with knowledge of

those matters, they were kept in the ordinary course of the regularly conducted business activity of

AT&T, and they were made by AT&T as a regular practice; and


        b.      such records were generated by AT&T’s electronic process or system that produces an

accurate result, to wit:


                1.         the records were copied from electronic device(s), storage medium(s), or file(s)

in the custody of AT&T, in a manner to ensure that they are true duplicates of the original records; and


                2.            the process or system is regularly verified by AT&T, and at all times

pertinent to the records certified here the process and system functioned properly and normally.



        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the

Federal Rules of Evidence.



    Date                                         Signature
